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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


                                           )
PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                          )             Civil Action No. 18-cv-1547
                                           )
                                           )
                           Plaintiff,      )
                                           )
        v.                                 )
                                           )
MICHAEL K. YOUNG, in his official capacity )
as President of Texas A&M University,      )
                                           )
                           Defendant.      )
                                           )
                                           )

               PLAINTIFF’S APPENDIX OF UNDISPUTED MATERIAL FACTS
                 IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

          Plaintiff PETA, pursuant to Rule 56(c) of the Federal Rules of Civil Procedure, files this

Statement of Facts in support of its Motion for Summary Judgment.

                                             Social media

          1.     Billions of people use social media platforms to communicate with each other,

engage with news content, and share information. See Answer (ECF Dkt 35) ¶ 6.1

          2.     In 2016, a United Nations study reported that 152 member states out of 193

(roughly 80%) include links to social media and other networking features on their national

websites. See United Nations E-Government Survey 2016, U.N. Sales No. E.16.II.H.2, at p. 65.2

Twenty percent of member states reported that social media engagement led to new policy

decisions and services. Id. at 68.


1
 The Answer (ECF Dkt. 35) corresponds to the same paragraphs of the Amended Complaint (ECF Dkt.
17).
2
    Available at http://workspace.unpan.org/sites/Internet/Documents/UNPAN97453.pdf.

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          3.      Federal agencies have registered more than 10,000 social media profiles with the

United States Digital Service. See https://usdigitalregistry.digitalgov.gov/.

          4.      All 100 Senators and the overwhelming majority of Representatives use social

media. See Congressional Research Service, Social Media in Congress, R44509 (May 2016), at p.

2.3

          5.      In a Congressional Management Foundation survey of members of Congress and

their staff, 76% of respondents felt that social media enabled more meaningful interactions with

constituents; 70% found it made them more accountable to their constituents; and 71% said

constituent comments on social media would influence an undecided lawmaker. See Walters Decl.

Exh. 1 (Congressional Management Foundation, #SocialCongress2015) at pp. 10-11, 15.4

                                                 Facebook

          6.      Facebook is a social media platform with over 2.2 billion users worldwide,

including 185 million daily users in the United States and Canada. See Answer (ECF Dkt. 35) at ¶

13. See also Walters Decl. Exh. 2 (Facebook, Press Release: Facebook Reports First Quarter 2018

Results) at p. 1;5 Exh. 3 (Facebook, Earnings Slides: Facebook Q1 2018 Results) at p. 2.6 Facebook

allows individual users to create a “profile” under their name and photograph where they can

curate their online presence by posting content on their “timeline,” including text, photos, videos,

and external links. Users are able to “friend” one another, which enables them to see and comment




3
    Available at https://fas.org/sgp/crs/misc/R44509.pdf.
4
  Available at http://www.congressfoundation.org/storage/documents/CMF_Pubs/cmf-social-congress-
2015.pdf.
5
 Available at https://investor.fb.com/investor-news/press-release-details/2018/Facebook-Reports-First-
Quarter-2018-Results/default.aspx.
6
    Available at https://s21.q4cdn.com/399680738/files/doc_financials/2018/Q1/Q1-2018-Earnings-
Presentation-(1).pdf
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on each other’s posts. They may do so in their “news feed,” the home-screen for all Facebook users

that displays a ticker-tape of posts and activity based on an algorithm that determines interest and

relevancy for individual users. See Answer (ECF Dkt. 35) ¶ 14. See also Walters Decl. Exh. 4

(Facebook Help Center, Your Profile and Settings);7 Exh. 5 (Facebook Help Center, Friending);8

Exh. 6 (Facebook Help Center, Your Home Page).9

          7.     Facebook has a “Town Hall” feature which, according to the “Help” section of

Facebook, “is a place on Facebook for civic discovery and engagement where you can: See the

names and contact information of local, state and federal government officials representing

you. Contact your government officials directly            through Facebook. Connect with your

government officials by following them.” See Answer (ECF Dkt. 35) ¶ 7. See also Walters Decl.

Exh. 7 (Facebook Help Center, What is Town Hall?) (stating that “Town Hall” is “a place on

Facebook where people can: Find, follow and contact their government officials. Find, follow and

contact government agencies. See a feed of what their government is posting on Facebook. This

tool is a part of Facebook’s efforts to help build civically engaged communities and make it easier

for people to have a voice in government.”).10

Facebook Pages

          8.     Facebook allows individuals and organizations to create their own “Pages.” Pages

offer different privacy, publishing, and content moderation functionality than individual user

profiles. Generally speaking, Pages are more public and less private. Using default settings, any

member of the public is able to view posts on an organization’s Page as well as comment on that



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    Available at https://www.facebook.com/help/239070709801747/?helpref=hc_fnav.
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    Available at https://www.facebook.com/help/1540345696275090?helpref=hc_global_nav.
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    Available at https://www.facebook.com/help/753701661398957/?helpref=hc_fnav.
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     Available at https://www.facebook.com/help/278545442575921?helpref=faq_content.
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Page. Users may also “follow” a Page, in order to receive notifications about activity on the Page

or see Page posts in their news feed. Users can also “like” a Page, which will be viewable on

their own user profile and automatically follow the organization’s Page. See Answer (ECF Dkt.

35) ¶ 15. See also Walters Decl. Exh. 8 (Facebook Help Center, Create and Manage a Page);11

Exh. 9 (Facebook Help Center, Like and Interact with Pages) at p. 1.12

          9.     All Pages on Facebook are public by default. To remove a Page from public view,

the administrator of the Page must “unpublish” it. Organizations can put age and country

restrictions on a Page to limit who can view it. Organizations can also ban individual Facebook

users from posting on, commenting on, and liking their Page, but banning will not prevent users

from viewing the Page. See Answer (ECF Dkt. 35) ¶ 16. See also Walters Decl. Exh. 8 (Facebook

Help Center, Create and Manage a Page) at p. 3; Walters Decl. Exh. 10 (Facebook Help Center,

Banning and Moderation) at pp. 4-5.13

          10.    Organizations can post text, photo, and video content on their Page, as well as

links to outside content. See Answer (ECF Dkt. 35) ¶ 17. See also Walters Decl. Exh. 11 (Facebook

Help Center, Publishing).14

Visitor posts, comments, and reactions on Facebook pages

          11.    Individual Facebook visitors can express themselves on Facebook Pages in three

distinct ways:

                 a.      They can publish their own posts to an organization’s Page. These posts

are located under the “Visitor Posts” tab. Visitor posts include original content placed specifically



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     Available at https://www.facebook.com/help/135275340210354/?helpref=hc_fnav.
12
     Available at https://www.facebook.com/help/1771297453117418/?helpref=hc_fnav.
13
     Available at https://www.facebook.com/help/248844142141117/?helpref=hc_fnav.
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     Available at https://www.facebook.com/help/182487968815949/?helpref=hc_fnav.
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on the Page by third parties, as well as instances where users “tag” (or link to) the organization on

their own user profiles. Organizations can disable visitor post functionality, or require manual

administrator review and prior approval of every visitor post before it is viewable to the general

public. See Answer (ECF Dkt. 35) ¶ 17. See also Exh. 9 (Facebook Help Center, Like and Interact

with Pages) at pp. 1-2; Exh. 10 (Facebook Help Center, Banning and Moderation) at pp. 1-2.

                 b.      They can “comment” under posts on Facebook Pages, including both posts

created by Page administrators and posts created by visitors. See Answer (ECF Dkt. 35) ¶ 17. See

also Exh. 9 (Facebook Help Center, Like and Interact with Pages) at pp. 1-2.

                 c.      They can “react” to a post or a comment. For example, they can click on a

“thumb up” symbol, which typically means that the visitor “liked” the post or comment. Posts and

comments display the number of times users have reacted. See Walters Decl. Exh. 12 (Facebook

Help Center, Insights) at pp. 1-2.15

          12.    Facebook Page administrators have at least three distinct ways to prevent visitors

from publishing posts or comments on the Page:

                 a.      They can establish a customized list of “blocked” words. If a blocked

word appears in a visitor’s post or comment, the e n t i r e p o s t o r c o m m e n t will

automatically and immediately be hidden from public view of the Page. See Answer (ECF Dkt.

35) ¶ 18. See also Exh. 10 (Facebook Help Center, Banning and Moderation) at p. 1.

                 b.      They can turn on Facebook’s generalized profanity filter, which will block

posts and comments containing certain profanity. See Answer (ECF Dkt. 35) ¶ 18. See also Exh.

10 (Facebook Help Center, Banning and Moderation) at p. 1.




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     Available at https://www.facebook.com/help/794890670645072/?helpref=hc_fnav.
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                c.      They can manually block individual posts and comments. See Answer

(ECF Dkt 35) ¶ 18. See also Exh. 10 (Facebook Help Center, Banning and Moderation) at p. 3.

Texas A&M University

        13.     Texas A&M University (“TAMU”) is a public research university, with its primary

location in College Station, Texas. See Answer (ECF Dkt. 35) ¶ 5.

        14.     Defendant Michael K. Young is TAMU’s President. See Answer (ECF Dkt. 35) ¶¶

1, 5. In his official capacity, he has authority over TAMU policies and practices. Id. at ¶ 5.

TAMU’s Facebook Page

        15.     TAMU maintains a Facebook Page: https://www.facebook.com/tamu/. See

Answer (ECF Dkt. 35) ¶¶ 19, 21. It has over 583,000 followers, and has received over 608,000

“likes.” Id. at ¶ 19.

        16.     TAMU can post text and other media on the timeline of its Facebook Page. On the

left of its Page is a list of content such as Home, Posts, and Photos. The Home section lists only

TAMU-generated media. See Answer (ECF Dkt. 35) ¶¶ 19-20.

        17.     On the timeline of its Facebook Page, TAMU regularly posts information about a

wide variety of University topics. These include educational opportunities, research advances,

and University athletics. TAMU also posts profiles about students and other members of the

TAMU community, and photographs taken by students studying abroad. See Answer (ECF Dkt.

35) ¶¶ 19-20.

Visitor expression on TAMU’s Facebook page: In general

        18.     Visitors to TAMU’s Facebook page can express themselves on that Page in three

distinct ways that other visitors can view:




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               a.     They can publish posts in the Page’s “Posts” section. See Answer (ECF Dkt.

35) ¶ 20.

               b.     They can comment on posts, including both University-created posts in the

“Home” section, and visitor-created posts in the “Posts” section. See Answer (ECF Dkt. 35) ¶¶ 20,

24.

               c.     They can react to posts and comments. See Answer (ECF Dkt. 35) ¶ 24.

         19.   TAMU has a social media policy, a true and correct copy of which is included as

Exhibit 13 to the Walters Decl. See Answer (ECF Dkt. 35) ¶ 25. See also

https://www.tamus.edu/marcomm/socialmedia/public/.

         20.   TAMU’s social media policy allows the general public—including current students,

prospective students, alumni, and non-affiliated persons interested in the University—to post,

comment, and react on TAMU’s Facebook Page. See Answer (ECF Dkt. 35) ¶ 28.

         21.   TAMU’s social media policy states narrow exceptions to this general public access.

These exceptions are for content that: violates the terms of service; contains personal identifying

information or sensitive personal information, as defined in Tex. Code Bus & Com. §521.001 et.

seq.; contains offensive terms that target protected classes; is threatening, harassing, or

discriminatory; incites or promotes violence or illegal activities; contains information that

reasonably could compromise public safety; advertises or promotes a non-affiliated commercial

product or service; promotes or endorses political campaigns or candidates; or violates a

trademark, copyright, or other law. See Walters Decl. Exh. 13 (TAMU’s social media policy) at p.

1-2.

         22.   According to TAMU’s social media policy: “Postings from the public on A&M

System or its members’ social media sites become public record and may be shared on A&M


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System websites.” See Answer (ECF Dkt. 35) ¶ 26. See also Walters Decl. Exh. 13 (TAMU’s

social media policy) at p. 2 (“This information may be subject to public information requests.”).

       23.     Exhibit 14 to the Walters Declaration is the “Settings” established by TAMU

regarding its Facebook Page. See Answer (ECF Dkt. 35) ¶¶ 38-40. TAMU provided this document

to PETA on June 20, 2018, in response to PETA’s request under the Texas Public Information

Act. Id. This exhibit is not dated, and may reflect the settings at any point from January 19, 2018

(when PETA sent its request) to June 20, 2018 (when TAMU responded). Id. These settings may

or may not reflect TAMU’s current Facebook Page settings. Id.

       24.     TAMU’s settings make it easy for everyone to see and publish information on its

Facebook Page:

               a.     The “Visitors Posts” setting for TAMU’s Facebook Page is: “Anyone can

publish to the Page,” and “[a]nyone can add photos and videos to the Page.” See Walters Decl.

Exh. 14 (TAMU’s Facebook Page “Settings”).

               b.     The “News Feed Audience and Visibility for Posts” setting for TAMU’s

Facebook Page is: “The ability to narrow the potential audience for News Feed and limit visibility

on your posts is turned off.” See Walters Decl. Exh. 14 (TAMU’s Facebook Page “Settings”).

               c.     The “Tagging Ability” setting for TAMU’s Facebook Page is: “Other

people can tag photos posted on my Page.” See Walters Decl. Exh. 14 (TAMU’s Facebook Page

“Settings”).

               d.     The “Country Restrictions” and “Age Restrictions” settings for TAMU’s

Facebook Page are: “Page is visible to everyone.” See Walters Decl. Exh. 14 (TAMU’s Facebook

Page “Settings”).




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        Visitor expression on TAMU’s Facebook Page: Concerning TAMU decisions

       25.       Many visitor comments and posts address TAMU decisions. See Answer ECF Dkt.

35) ¶ 24.

       26.       On March 28, 2018, TAMU posted about a University residential program for

students on the autism spectrum. A visitor published the following comment below that post. See

Answer (ECF Dkt. 35) ¶ 24.




       27.       On July 19, 2017, TAMU posted about a University cancer research program that

involved a dog. Visitors published the following comments below that post. See Answer (ECF

Dkt. 35) ¶ 27.




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       28.    A visitor published the following post on TAMU’s Facebook Page. See Answer

(ECF Dkt. 35) ¶ 29.




       30.     The following post appears in TAMU’s Facebook page. See Answer (ECF Dkt.

35) ¶ 30.




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                          PETA’s campaign against TAMU’s dog lab

       31.     TAMU operates a laboratory where researchers study therapies for Duchenne

Muscular Dystrophy (“DMD”) in canines with the disease. See Answer (ECF Dkt. 35) ¶ 32.

       32.     In 2016, PETA began an advocacy campaign against TAMU’s dog lab. This

campaign has included, but has not been limited to, letters to government officials and funding

agencies, protests of Board of Regents’ meetings, Twitter livestreams of its protests at TAMU events,

and a video by political commentator Bill Maher. See Answer (ECF Dkt. 35) ¶ 33.

                     TAMU’s exclusion of PETA from its Facebook Page

       30.     TAMU automatically blocks selected words from its Facebook page. See Answer

(ECF Dkt. 35) ¶¶ 44-45. TAMU admits these include:

               a.      “PETA,” id. at ¶ 1 & 46; and



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                  b.     “lab,” id. at ¶ 1.

        31.       The “Settings” for TAMU’s Facebook Page likewise show that TAMU

automatically blocked five words associated with PETA’s campaign against TAMU’s dog lab:

“peta,” “lab,” “abuse,” “abusers,” and “md.” See Walters Decl. Exh. 14 (TAMU’s Facebook Page

“Settings”).

        32.       Of the remaining 26 blocked words in TAMU’s “Settings”:

                  a.     Twelve are related to automated spam: “$,” “apartment,” “bit card,”

“giftcard,” “ipaad,” “ipad2,” “ipadss,” “jetblue,” “job,” “pad,” “pads,” and “sale.” Id.

                  b.     Seven are profanity: “a$$,” “ass,” “bastard,” “bastards,” “hell,” “penis,”

and “shit.” Id.

                  c.     The other seven are “aggy,” “hook,” “hook em,” “hookem,” “illuminati,”

“jersey,” and “ms.” Id.

        33.       TAMU’s use of the automatic filter led to the removal of PETA generated content

from the TAMU Facebook Page, as well as the removal of content mentioning PETA or content

referencing PETA’s anti-dog lab campaign.

        34.       When certain PETA-generated posts were not blocked by TAMU’s automatic

filters, and appeared on TAMU’s Facebook Page, TAMU manually blocked them from its Page.

See Answer (ECF Dkt. 35) ¶ 43.




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DATED: March 27, 2019            Respectfully submitted:

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